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                                                      September 24, 2021
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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10                             WESTERN DIVISION
   11   FITPRINT MARKETING, LLC,            Case No. 8:20-cv-08424-SB-MAA
   12              Plaintiff,               ORDER GRANTING JOINT
   13   vs.                                 STIPULATION RE: REQUEST
                                            FOR DISMISSAL
   14   FRANK J. TABOADA, and
        TABOADA ROCHLIN GOVIER,             Complaint filed:        September 15, 2020
   15   LLP,                                Trial Date:             December 6, 2021
   16              Defendants.
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    1         Having considered the Parties’ Joint Stipulation re: Request for Dismissal, in
    2   which the parties have confirmed that they have successfully reached a full and
    3   complete settlement of the above-referenced case through their private mediation
    4   efforts, and with good cause thus shown, IT IS HEREBY ORDERED that this case
    5   shall be dismissed, with prejudice, as to the entire action.
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    7         IT IS SO ORDERED.
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        Dated: September 24, 2021

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   11                                                    Stanley Blumenfeld, Jr.
                                                        United States District Judge
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                                   CERTIFICATION OF SERVICE
                                CASE NO. 2:20-CV-08424-SB-MAA
